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                         UNITED STATES DISTRICT COURT
                     IN THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 TIMOTHY KERRIGAN, et al,                       Case No. 2:14-cv-12693
                                                Hon. Matthew F. Leitman
       Plaintiffs,

 vs.

 VISALUS, INC., et al

      Defendants.
 ___________________________________/




            PLAINTIFFS’ RESPONSE IN OPPOSITION TO
  VISALUS DEFENDANTS’ MOTION TO STRIKE CLASS ALLEGATIONS
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                               ISSUE PRESENTED

 Does Plaintiffs’ counsel have a conflict of interest that would require the Court to
 strike the class allegations in this lawsuit?

 Plaintiffs' Answer: No.




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                                  INTRODUCTION

       After having substantially lost every motion in this case for 2 ½ years, usually

 after advancing contradictory and confused positions, Defendants’ latest (untimely)

 motion to strike the class allegations is possibly the least plausible motion filed to

 date. It is probably not a coincidence that this latest motion is filed on the eve of a

 hearing in November which should finally settle the issues which claims should be

 directed to the more than 40 defendants who participated in this long-running

 fraudulent scheme, and hopefully, will shortly lead to class certification for the over

 387,000 individual promoter class members to recover the approximately $360

 million in losses they suffered.1 [Dkt. # 115 at Memorandum p.1].

       Let us put this motion in perspective. The instant case was filed in July, 2014,

 with the Court finding in two rulings that the compensation plan recruitment scheme

 described an inherently fraudulent pyramid scheme [See Dkt. # 75]. Plaintiffs spent

 the next two years in discovery finding out which of the dozens of companies and

 LLC’s set up by various promoters, the defendant “Founders,” the Goergen family

 participants, and the Ropart Asset Management private equity funds have legal



 1
  The class definition being sought is:
       The class consists of individuals who reside in the United States and
       Canada who became Independent Promoters between July 9, 2008 and
       the present who have lost money they paid to ViSalus.
 [Dkt.# 115 at Motion p. 2]
                                           1
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 culpability. The Second and Third Amended Complaints set forth why and how over

 40 defendants managed the scheme, sucked it dry, and distributed over $150 million

 to themselves and each other, while leaving the company essentially collapsed. In

 the meantime, the Founder Defendants and Defendant Todd Goergen, who have

 continued to run ViSalus before and after the Kerrigan lawsuit, concocted a

 fraudulent equity scheme—an unregistered securities offering tacked on top of the

 Compensation Plan that pays for recruiting, and which was designed to entice new

 promoters to keep the sinking (or sunk) ViSalus company afloat for another couple

 of years.

       The Byrd plaintiffs2 and proposed class—“Independent Promoters …who

 have lost money they paid toViSalus”– is composed of about 700 (as best we can

 tell at this time) people, each of whom is also a class member of Kerrigan, differing

 only that the conduct forming the basis of Byrd occurred after Kerrigan was filed

 and was based on an offering that most of the Kerrigan class members did not act

 on. As the Byrd complaint itself articulates, Ms. Byrd was not aware of the Kerrigan

 litigation when she was induced to become a promoter, and was only given the

 Kerrigan complaint by a Colorado state securities attorney who opened an

 investigation into the securities offering she complained about. Ms. Byrd, and



 2 Caprece Byrd, et al. v. ViSalus, Inc., et al., Case No. 4:17-cv-12626 (E.D. Mich.)
 (“Byrd”).
                                          2
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 subsequently a number of other promoters retained Plaintiffs’ counsel to pursue the

 claim as a class.

       After Kerrigan was filed and its business practices put at issue, and

 particularly its lack of real, arms-length customers, some of the defendants in

 Kerrigan, in 2017 decided to sell directly to customers on Amazon, and in the

 process ruin one of its promoters’ business, a program of direct sales through

 Amazon developed by Michael Gehart. Thus, Gehart, an Independent Promoter who

 suffered a loss of money paid to ViSalus— also a Kerrigan class member when the

 Kerrigan class gets certified—retained Plaintiffs’ counsel to pursue an individual

 claim unique to him through which he could not recover as a Kerrigan class

 member.3

       Neither of these cases present a conflict of interest. Each case has exactly the

 same interest: to recover damages from an overlapping pool of culpable parties for

 the same conduct arising out of a collapsed pyramid scheme. Defendants’ motion is

 a fabrication composed of “what ifs” and essentially misrepresentations. Plaintiffs’

 counsel can fairly and adequately protect the interests of this class (and Michael

 Gehart and the Byrd class) and is committed to zealously representing its clients.

 Defendants’ Motion must be denied.



 3 Michael Gehart v. ViSalus Inc., et al., Case No. 4:17-cv-12132 (E.D. Mich.)
 ("Gehart").
                                           3
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                      LEGAL STANDARD AND ARGUMENT

        The prerequisites for maintaining any class action are: “(1) the class is so

  numerous that joinder of all members is impracticable; (2) there are questions of law

  or fact common to the class; (3) the claims or defenses of the representative parties

  are typical of the claims or defenses of the class; and (4) the representative parties

  will fairly and adequately protect the interests of the class. Fed. R. Civ. P. 23(a).

  Defendants’ Motion to Strike Class Allegations does not take issue with the class

  number, the common questions of law or fact common to the class, or the claims or

  defenses of the representative parties, but is based solely on the fourth prerequisite,

  and not even the representative parties’ ability, but on Plaintiffs’ counsels’ ability to

  fairly and adequately protect the interests of the class. “To satisfy the fourth

  prerequisite for class-action status, the Court must find that “the representative

  parties will fairly and adequately protect the interests of the class.” Imhoff Inv., LLC

  v. SamMichaels, Inc., 2012 WL 2036765, at *2 (E.D. Mich. May 21, 2012) (citing

  Fed. R. Civ. P. 23(a)(4)). “This is a two-pronged inquiry, “one relates to the

  adequacy of the named plaintiffs' representation of the class and requires that there

  be no conflict between the interests of the representative and those of the class in

  general; the other relates to the adequacy of class counsel's representation.”” Id.

  (citing In re Ready–Mixed Concrete Antitrust Litig., 261 F.R.D. 154, 168




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  (S.D.Ind.2009)). Rule 23 provides four guidelines for the Court to consider when

  determining the adequacy of class counsel’s representation:

        (i) the work counsel has done in identifying or investigating potential
        claims in the action;
        (ii) counsel's experience in handling class actions, other complex
        litigation, and the types of claims asserted in the action;
        (iii) counsel's knowledge of the applicable law; and
        (iv) the resources that counsel will commit to representing the class.

  Id. at *2 (citing Fed. R. Civ. P. 23(g)(1)(A)).

        Defendants’ Motion does not raise issue with any of the four guidelines above,

  rather bases its entire Motion to Strike the Class Allegations by challenging

  counsels’ adequacy on the ground of violation of professional ethics and an alleged

  “conflict.”

        A.      PLAINTIFFS’ COUNSEL DOES NOT HAVE A CONFLICT OF
                INTEREST THAT WOULD REQUIRE THE COURT TO
                STRIKE THE CLASS ALLEGATIONS

        That this alleged “conflict” does not exist - - and Defendants’ counsel knows

  it does not exist-- is plain from the relief sought by this bogus motion. Striking the

  class allegations would not cure an actual conflict of interest. If representing Gehart

  or Byrd ethically conflicted with representing the class, then having Plaintiffs

  continue to represent the individual parties (Kerrigan, Valli, and Mikovich) is

  equally an ethical problem not cured by striking the class allegations. But no one

  who wrote this motion seriously believes there is a conflict. Rather, it is a last ditch

  effort to gin up something between now and class certification.

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        Efforts like this have been tried and failed. “When assessing the adequacy of

  counsel, courts must distinguish and disregard ‘petty issues manufactured by

  defendants to distract the judge from his or her proper focus under Rule 23(a)(3) and

  (4) on the interests of the class.’” Imhoff Inv., LLC v. SamMichaels, Inc., 2012 WL

  2036765, at *2 (E.D. Mich. May 21, 2012) (citation omitted). Defendants’ Motion

  is exactly that – petty and manufactured, and an attempt to distract the Court from

  its proper focus under Rule 23.

        The most obvious reason why there is no conflict is because everyone in each

  of the three cases represented by the Plaintiffs’ counsel has the same goal and

  interest. Every member of the Byrd class is also simultaneously a class member of

  the Kerrigan litigation, and every dollar of the Byrd class losses is recoverable if and

  when the RICO and securities claim in Kerrigan proceed to trial on a class basis.

  Same with Michael Gehart. He is almost without doubt a money-losing promoter

  (Defendants do not claim otherwise) and would be entitled to a portion of the

  Kerrigan class recovery. Both Byrd plaintiffs and Gehert thus have exactly the same

  aim and goal as the Kerrigan class: to succeed in the Kerrigan class. What the Byrd

  plaintiff class and Gehart also have are additional claims not available to the

  Kerrigan class, claims that arose after that suit was filed and based on different

  wrong doing. That fact does not create a conflict, and no case, no matter how badly

  misread by Defendants, says so. Neither do the professional rules. Rule 1.7(a)


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  provides that a “directly adverse” representation is prohibited; subsection (b) limits

  “materially adverse” representation.

        The utter failure to come to grips with this basic fact leads to the second

  articulated basis for the motion to strike – that Plaintiffs’ counsel has an alleged

  conflict because the Defendants don’t have enough money to pay all their clients for

  the harms they have caused. The argument is equally perverse (especially since

  Defendants take no issue with flaunting their wealth gained from Plaintiffs’ money).

  First, each of the three cases has a different group of Defendants for any judgment

  against them, and second, Defendants have offered no back-up to this position or

  provided any evidence that the assets of each of the named Defendants is insufficient

  to recover any judgment against them.

         The fact that Defendants have chosen to raise ethical issues against Plaintiffs’

  Counsel here rather than before attorney discipline board is further evidence that

  Defendants are attempting to divert the Court from the real issues at hand. See, e.g.,

  Imhoff Inv., LLC v. SamMichaels, Inc., 2012 WL 2036765, at *2 (E.D. Mich. May

  21, 2012) (“Defendants sometimes challenge class counsel's adequacy on the ground

  of violation of professional ethics in connection with the class litigation ... [Most

  courts] have directed the defendants to bring any ethical complaints they have in the

  proper legal disciplinary forums and have not barred class certifications grounded

  on any determination of the merits of such ethical complaints”) (quoting In re Dynex


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  Capital, Inc. Sec. Litig., No. 05 Civ, 1897, 2011 WL 2581755, at *6 n. 8 (S.D.N.Y.

  Apr. 29, 2011)). There is no “real” conflict of interest (or other ethical violation) in

  Plaintiffs’ counsels’ representation of Michael Gehart or the Plaintiffs and purposed

  class in the Byrd litigation that would require Plaintiffs’ counsel to be dismissed

  from this lawsuit and require the court to strike the class allegations.

               1.     Defendants Attempt To Create Conflict Situation By
                      Creating An Imaginary Defendant

        Defendants claim that Plaintiffs’ counsel cannot represent Michael Gehart and

  the interests of this class or the Byrd class by claiming Gehart is an (imaginary)

  defendant in this case. Defendants claim Gehart could be a Defendant in this

  litigation and the Byrd litigation by rattling off some general similarities between

  himself and the Independent Promoter Defendants in this litigation and Defendant

  Vincent Owens in the Byrd litigation, and then compound on the argument by

  claiming that since he is or could be a potential defendant Plaintiffs’ counsel must

  consider him as a potential source of recovery in order to adequately represent the

  Plaintiffs and the putative class here. Then Defendants’ go as far as claiming that if

  Plaintiffs’ Counsel is going to zealously represent Gehart, and if he is a viable

  defendant in this case, then his strongest defense is that ViSalus is not a pyramid

  scheme – which is obviously adverse to the interests of this case and class.

        Not only is this confusing, it is entirely invented. As things actually exist,

  Gehart is not a defendant in this litigation, and he is not a defendant in the Byrd

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  litigation because he didn’t do anything to become a defendant. The Individual

  Promoter Defendants are culpable because they knew about the pyramid scheme,

  acted to further the scheme, and were paid big money to sell the dream to promoters

  like Kerrigan and Gehart. Of course, to this day each of the defendants claim there

  was no scheme or they knew nothing—apparently Gehart alone out of all the people

  involved was the mastermind with scienter to establish, perpetuate, and/or carry out

  the scheme to defraud the Plaintiffs and class here.

           Plaintiffs’ counsel is not required to take the “adverse” position that ViSalus

  is not a pyramid scheme. To the contrary, the fact that it is a pyramid scheme is part

  of Gehart’s RICO claim, and is plastered all over the complaint filed on his behalf.

  [Dkt. # 1 at Pars. 1, 7, 10, 26, 72, 82, 91, etc.].4 Gehart’s sharing of ViSalus

  marketing materials on his social media pages, or the fact that he achieved their rank

  of Ambassador, hardly implicates Gehart in Defendant’s scheme (if this were the

  standard there would be hundreds if not thousands of distributors that would have to

  be named since ViSalus provided every new distributor with marketing materials to

  share and scripts to use to try and recruit others). Gehart did not materially


  4   Gehart’s complaint spells this out in Par. 91:

           The association-in-fact has a longevity sufficient to permit those
           associates to pursue the enterprise’s purpose - - the establishment and
           perpetuation of an unlawful pyramid scheme and the operation of a
           fraudulent pyramid scheme. That scheme is described in the Kerrigan
           et al. v. ViSalus litigation currently pending.
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  misrepresent ViSalus’s worth and an “equity payout” in order to induce hundreds of

  people to invest in the Founders Equity Incentive Plan as did Vincent Owens and the

  other defendants in the Byrd litigation. In short, all Defendant’s social media

  “evidence” shows is that Gehart did what every promoter who got sucked into the

  pyramid scheme did, including Kerrigan himself, who got the other name plaintiffs

  involved in the dream.

        Of the over 400,000 promoters identified in Kerrigan, approximately 85% lost

  money, including, most likely, Gehart. Even if Gehart himself is not among that

  85%, are Defendants seriously suggesting that each of the approximately 60,000

  promoters who did not lose money should be named as a defendant? If Defendants

  really believed that Gehart should have been a defendant, then he should have been

  brought into this litigation as a third-party defendant. If Gehart is so important,

  where was the F.R.C.P. 19(a) motion? Of course, Defendants would then have had

  to explain why the thousands of promoters who are not members of the class,

  because they made a little money, should not themselves be joined in the litigation.

        The cases Defendants cite on this issue provide no support. They involve a

  class representative (not the class counsel) with interests antagonistic to the class.

  In Forde v. Anjoy Travel Ltd., 94 F.R.D. 41(S.D.N.Y. 1982), the class

  representative’s theory of liability is different from the other class members. In

  Honolulu Fed. Sav. & Loan Ass'n v. Verex Assur., Inc., 116 F.R.D. 474, (D. Haw.


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  1987), the class representative’s position as an intermediary created a conflict

  between the plaintiffs and the class. In Billingsley v. Bachinskas, 78 F.R.D. 407

  (N.D. Tex. 1978), the plaintiff had a conflict because he had been employed by the

  defendant so he could not act as a class representative. Defendants attempt to apply

  these cases to the adequacy of counsel with Greenfield v. Villager Indus., Inc., 483

  F.2d 824, (3d Cir. 1973), but Greenfield stands for nothing of the sort. In Greenfield,

  inadequacy of the counsel was due to counsel’s failure to provide adequate notice to

  the absent class members as it had promised the court it would. Id. at 830-31. Gehart

  is not attempting to serve as a class representative in either this case or the Byrd

  litigation and Defendants have failed to provide any support that Plaintiffs’ counsels’

  representation of Gehart is antagonistic to the class here.

               2.     Plaintiffs’ Counsel Is Not Required To Take
                      Conflicting Positions

        The basis of this litigation is that, whether by RICO, federal securities, or state

  law, ViSalus and the Defendants named here orchestrated an illegal pyramid

  scheme. Plaintiffs’ counsel never need to take the position in the Gehart litigation

  (as set forth above) or in the Byrd litigation (where the pyramid scheme legality or

  illegality does not make a difference with respect to the securities fraud) that ViSalus




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  and the Defendants here were not operating an illegal pyramid scheme – the only

  position that would be inconsistent with the potential class here.5

           Defendants badly misread the complaints in each case if they seriously claim

  that they offer different factual positions. Defendants seem to claim that plaintiffs’

  complaints say something different with respect to the demand for product and

  product sales, but this is untrue. Each suit filed by Plaintiffs’ counsel alleges (and

  will prove if necessary) that there was little to no demand for product by real

  customers.6 Far from being “conflicting” or contrary, the facts supporting Gehart’s

  claim are only conflicting and inconvenient for the Defendants in Kerrigan, since

  their “customer” claims turn out to be Amazon customers buying the product directly




  5 In Byrd, the Complaint states in Par. 2 with the words, “Defendant ViSalus is a
  failed pyramid scheme.” In Gehart, the Complaint, in Par. 1, starts “when he joined,
  Plaintiff did not know that ViSalus operated an illegal pyramid scheme.”
  6
      As Gehart’s complaint alleges, in Par. 25:

           What Plaintiff did not know until he was in the system was that
           customers were few, and the real payments could only come from
           recruiting others into the system.

  And the RICO scheme described beginning in Par. 31 begins with the paragraph
  entitled “Lack Of Real Customers.” The fact that Gehart had to sell product to
  customers outside of the ViSalus system only supports this point, not contradicts it.
  The people that did actually like the product did not want to be bothered with
  ViSalus’s incessant recruiting tactics and purchased the product from Gehart on
  Amazon outside of ViSalus’s system.
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  online rather than through the promoters who paid $499 or $999 so they could sell

  to few “customers.”

        The Byrd complaint is also consistent. See FAC, Dkt. # 30, Pars. 9, 59, 227,

  and elsewhere. More to the point, whether there was or was not “demand” for the

  product is not the basis for or relevant to Byrd. The fake equity offered as part of the

  Founders Equity Incentive Plan was offered because the product sales within the

  system could not support the bonuses it was paying out to its professional promoters.

  Each of the newly-recruited promoters in Byrd articulates why they joined and how

  much money they lost as promoters.

        All of the cases that Defendants’ cite in their motion to support their argument

  that Plaintiff’s counsel must take adverse positions to represent the clients involved

  in the three litigations are out of place - they involve adversity between the sub-

  classes as part of a settlement7 or inadequate class representatives,8 neither of which

  an issue here. None of the plaintiffs in any action are requesting the court to order



  7 Ortiz v. Fibreboard Corp., 527 U.S. 815, 856 (1999) (the class was divided
  between holders of present and future claims thus requiring separate counsel for
  each); In re Payment Card Interchange Fee & Merch. Disc.Antitrust Litig., 827 F.3d
  223 (2d Cir. 2016) (counsel could not represent a class seeking injunctive relief and
  a class seeing monetary relief in the same litigation); and Broussard v. Meineke Disc.
  Muffler Shops, Inc., 155 F.3d 331 (4th Cir. 1998) (class sub-groups had conflicting
  interests).
  8
    Spagnola v. Chubb Corp., 264 F.R.D. 76, 96 (S.D.N.Y. 2010); Pipes v. Life
  Investors Ins. Co. of America, 254 F.R.D. 544, 550 (E.D. Ark. 2008)
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  ViSalus to stop operating in its entirety and the adequacy of the class representative

  is not the issue in dispute.

        Defendants’ final argument, that a judgment in this litigation would render

  any stock in ViSalus “valueless” thus equating to conflict between the Plaintiffs and

  class here and the Byrd litigation, is nonsensical. The Byrd Complaint alleges that

  the plaintiffs were fraudulently induced to buy a security that has no value based on

  false representations of current performance and lies about future dividends. A

  judgment against ViSalus and the Founders would only confirm this to be true. And

  Defendants apparently concede that the equity they were offering to promoters was

  fake (“The Founders Equity Incentive Plan, which Plaintiffs’ counsel

  mischaracterizes as an actual securities offering, is a phantom equity incentive

  plan…”) (Defs.’ Mtn. at 18).9 The theoretical fact that Defendants claim that

  distributors could receive a cash payout (or what they called a “dividend” before

  getting sued for securities fraud) if the distributor remains active and at the

  qualifying rank whenever ViSalus decides to determine who it will pay if it does

  decide to pay, and all at its sole discretion (all of which is another part of the

  fraudulent inducement claim) based on the value of the company does not actually




  9The Byrd equity plan is being investigated by two securities agencies, in Colorado
  and Michigan.
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  create a conflict for Plaintiffs’ counsel or cause issue with Plaintiffs’ counsels’

  ability to zealously advocate for its clients.

               3.     Defendants’ Argument That Plaintiffs’ Counsel Would
                      Be Suing Its Own Clients If Appointed Class Counsel
                      In Byrd Is Absurd

        Defendants have either misread the proposed class definition in the Byrd

  litigation or are intentionally misrepresenting the class definition. The Individual

  Promoter Defendants named here are not class members in Byrd. Every member of

  the Byrd class is a money-losing promoter who got suckered into investing $25,000,

  $40,000 or more to “earn” “equity.” If Defendants gave away some of that “equity”

  internally to their co-Defendants (as apparently they did to several promoters,

  including a Byrd and Kerrigan defendant, Gary J. Reyonds), these few people are

  not and would not be members of the Byrd class and no, they would not become

  Plaintiffs’ counsels’ new clients upon certification. This should be clear from the

  proposed class definition in both the original complaint and the first amended

  complaint filed in the Byrd litigation, which expressly excluded the Individual

  Promoter Defendants from the class.10 If appointed class counsel in Byrd, Plaintiffs’

  counsel would not be suing its own clients.


   10
     In the original complaint the class described consisted of “all those who purchased
  or otherwise acquired ViSalus securities, or were informed by ViSalus that they were
  “unit holders” of such equity in the course of an offering called “Founders Equity
  Incentive Plan.” Excluded from the Class are Defendants, the officers and directors
  of the Company, members of their immediate families and their legal
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               4.    Plaintiffs’ Counsel Is Not Seeking To Recover From A
                     Single Defendant In The Three Lawsuits And There Is
                     No Blanket Rule That Plaintiffs’ Counsel Cannot
                     Represent Different Plaintiffs In Different Actions
                     Against ViSalus

        Defendants claim that Plaintiffs’ counsel is attempting to recover from a

  single defendant with a finite amount of resources, and therefore, suing on behalf of

  Byrd and Gehart on the heels of Kerrigan presents a conflict with respect to

  Kerrigan. There are two problems associated with this argument.

        First, there is no “single” pool of money nor there is not a single defendant in

  any one of the lawsuits, rather multiple and different defendants named in each of

  the three suits, and these defendants present different “pools” of money available for

  recovery. The damages thus far articulated in the Kerrigan case are approximately

  $350 million. There are four general “pools” of money potentially available to

  compensate the plaintiff class. The $15 million D & O policy covering the Founders


  representatives, heirs, successors or assigns and, any person or entity in which
  Defendants have or had a controlling interest.” (emphasis added) 2:17-cv-12626-
  LJM-SDD Doc # 1 at 20. In the First Amended Complaint, the class described
  consists of “all those who purchased or otherwise acquired ViSalus securities, or
  were informed by ViSalus that they were “unit holders” of such equity in the course
  of an offering called the “Founders Equity Incentive Plan.” Excluded from the Class
  are Defendants, those individuals identified as defendants in the Kerrigan lawsuit
  who may have obtained equity “units” in the Plan, their agents, and others who
  obtained their “units” without investment, the officers and directors of the Company,
  members of their immediate families and their legal representatives, heirs,
  successors or assigns and, any person or entity in which Defendants have or had a
  controlling interest.” (emphasis added). 4:17-cv-12626-MFL-DRG Doc # 30 at 22.

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  and ViSalus for the 2014 policy year and a series of contractual agreements to pay a

  portion of defense costs from ViSalus’s former owner, Blyth, Inc. is one “pool.” The

  Founders personally, and through their various companies pulled out a large amount

  of money from the operation between 2011 and 2013, as much as $90 million,

  comprising another “pool.” The Ropart Asset Management/Goergen defendants,

  who pulled out at least $55 million between 2008 and 2012 are a third “pool.” And

  the Individual Promoter Defendants, and their associated companies, pulled out

  approximately $15-20 million, comprising the last leg of the “pool.”11 Each of these

  has different defenses and the Plaintiffs’ claims against each may proceed for

  damages in different years and under different legal theories.



  11 Visalus, Inc., Nick Sarnicola, Robert Goergen, Sr., Todd Goergen, Ryan Blair,
  Blake Mallen, Frank Varon, Kyle Pacetti, Jr., Michael Craig, Timothy Kirkland,
  Holley Kirkland, Aaron Fortner, Rachel Jackson, Tara Wilson, Anthony Lucero,
  Rhonda Lucero, Jake Trzcinski, Gary J. Reynolds, Kevin Merriweather, Ropart
  Asset Management Fund, LLL, Ropart Asset Management Fund II, LLC, Rock
  Ridge Asset Management Company, LLC, Ropart Asset Management, LLC, Living
  Trust Dated 9/30/1991 F/B/O Robert B. Goergen, OCD Marketing, Inc., Hashtag
  One, LLC, Power Couple, Inc., Arriveby 25, Inc., Bam Ventures, Inc., Jason
  O’Toole International Holdings, Inc., Gooder, LLC, Red Letters, LLC, M-Power
  Path, Inc., A Berry Good Life, Inc., Network Dynamics America Corp., Freedom
  Legacy, LLC, Residual Marketing, Inc., Got Heart Global, Inc., Jaketrz, Inc., Mojos
  Legacy, LLC, Beachlifestyle Enterprises, LLC, Wealth Builder International LLC,
  Prospex Automated Wealth Systems, Inc., 9248-2587 Quebec, Inc., Jason O’Ttoole,
  and Lori Petrilli. In Byrd, in addition to ViSalus, the founders and several top
  promoters, including Ashley Sarnicola and Vincent Owens (not previously named
  as a defendant) are named as defendants.


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        The Byrd class damages are believed to be $15 million, and, as noted

  elsewhere, are largely subsumed into the Kerrigan damages in that every Byrd

  plaintiff by definition is a money-losing promoter. But Byrd and in all likelihood

  Gehart, expand rather than contract, the potential recovery pool. The Kerrigan

  litigation is defended by 2014 D&O policies issued in 2014, while ViSalus was a

  subsidiary of Blyth, Inc. But the Byrd litigation will trigger ViSalus D&O policies

  issued since 2015, with their own indemnity provision, thus adding to the recovery

  pool. ViSalus’s general commercial insurance may cover have coverage obligations

  over Gehart’s claim from 2017. The Plaintiffs and the class here, Michael Gehart,

  and the plaintiffs and the class involved in the Byrd litigation have not sued a single

  defendant and are not all competing for the same pool of resources.

        Second, although Defendants attempt to imply there is a blanket rule

  prohibiting an attorney currently representing another class against the same

  defendant from serving as class counsel, there is no blanket rule. Class counsel may

  represent two classes, even in related cases, as long as the litigant’s interests do not

  inherently conflict. Sandoval v. Ali, 34 F. Supp. 3d 1031, 1047 (N.D. Cal. 2014). In

  Sandoval, the court denied to disqualify class counsel due to potential conflicts of

  interest (analyzing both the Ortiz and Lou cases cited by Defendants here) because

  the defendants had only raised speculative concerns about a conflict of interest. Id.

  at 1047. The Sandoval court noted:


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        The treatise Newberg on Class Actions § 3:75 (5th ed.) takes a
        more nuanced approach:

        Like a lawyer in any litigation, a class action attorney may not
        simultaneously represent two clients if those clients' interests are
        directly adverse or if there is significant risk that the dual
        representation will materially limit the lawyer's representation of
        one client. Such attorney conflicts, like those of the class
        representative, are material to the question of whether the
        proposed class counsel can adequately represent the class; but as
        with class representatives, only client conflicts that are material
        and presently manifest—rather than merely trivial, speculative,
        or contingent on the occurrence of a future event—will affect the
        adequacy of class counsel. Id. (internal footnotes omitted).

        According to Newberg, “[i]n general, class counsel may
        represent multiple sets of litigants—whether in the same action
        or in a related proceeding—so long as the litigants' interests are
        not inherently opposed.” Id. Newberg notes that concurrent
        representation may be beneficial in some situations, and that
        courts have found counsel inadequate due to conflicts where “the
        recovery of one group in one forum inherently conflicts with the
        recovery of the other.” Id. Newberg sets forth examples such as
        where a limited fund means that the recovery of one claimant will
        cut directly into recovery by another, where substantive law
        permits recovery by only one or the other set of litigants, where
        one client is litigating an appeal to a class action settlement in
        which another client claimed recovery, and where counsel's
        actions have generated conflicts between class representatives
        and the class. Id.

  Id. at 1047.

        Here, the interests of Plaintiffs and the proposed class, Michael Gehart, and

  the plaintiffs and proposed class in the Byrd litigation do not inherently oppose one

  another. Defendants have offered no evidence of the financial status of each of the

  Defendants named in each litigation, or any real conflict, but rather theoretical and
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  manufactured conflicts of interest. All plaintiffs are not vying for relief from the

  same limited source as in Kuper v. Quantum Chem. Corp., 145 F.R.D. 80, 82–83

  (S.D. Ohio 1992) as Defendants’ claim, but rather multiple defendants and resources

  (inconsistent with Moore v. Margiotta, 581 F. Supp. 649, 652–53 (E.D.N.Y. 1984),

  where counsel could not elucidate that there was a difference in the funds that the

  two classes were seeking). There simply is no conflict that requires curing and no

  reasoning behind striking the class allegations in this suit.


                                     CONCLUSION

        Defendants have failed to set forth any sort of ethical violation or any other

  reason for this Court to strike the class allegations in this lawsuit. Plaintiffs’ counsel

  does not have a conflict in representing multiple plaintiffs in multiple lawsuits

  against ViSalus and the several other defendants named in the suits. Defendants’

  Motion merely fabricates a conflict as an attempt to dismiss Plaintiffs’ counsel and

  ask the court to strike the class allegations, and accordingly, should be denied.




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                                       Respectfully submitted,

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  Dated: October 12, 2017




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                           CERTIFICATE OF SERVICE

        I certify that on October 12, 2017, I electronically filed the forgoing paper

  with the Clerk of the Court using the CM/ECF system, which will send notification

  of such filing to all counsel of record on the ECF Service List.

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